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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                                Case No. CR12-62RSL

10                          Plaintiff,                         ORDER GRANTING
11                     v.                                      DEFENDANT’S MOTION
                                                               FOR COMPASSIONATE
12    PASCUAL VALENZUELA,                                      RELEASE
13                          Defendant.
14
15         This matter comes before the Court on defendant’s “Motion for Compassionate Release
16 Pursuant to 18 U.S.C. § 3582(c)(1).” Dkt. #1496. The Court, having considered the motion,
17 exhibits, and the record contained herein, finds as follows:
18         I.     PROCEDURAL MOTIONS
19         As a threshold matter, the Court finds compelling reasons justify sealing the
20 government’s response and attached exhibits. The government’s motion to seal (Dkt. #1500) is
21 accordingly GRANTED. In addition, the parties’ motions to file overlength briefs (Dkts. #1495,
22 #1499, #1502) are GRANTED.
23         II.    BACKGROUND
24         Defendant is a 60-year-old inmate currently incarcerated at the Federal Correctional
25 Institution (“FCI”) Sheridan. On April 25, 2013, defendant pled guilty to (1) conspiracy to
26 distribute controlled substances in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846, (2)
27 conspiracy to engage in money laundering in violation of 18 U.S.C. §§ 1956(h), (a)(1)(A)(i),
28 and (a)(1)(B)(i), and (3) conspiracy to possess firearms in furtherance of drug trafficking crimes

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 1 and crimes of violence, in violation of 18 U.S.C. § 924(o). Dkt. #865. On October 31, 2014,
 2 the Court sentenced defendant to 144 months’ imprisonment and five years of supervised
 3 release. Dkt. #1329. Defendant is currently scheduled for release from the custody of the
 4 Federal Bureau of Prisons (“BOP”) on June 19, 2022. He has remained in custody since the day
 5 of his arrest on March 29, 2012, and he now moves for compassionate release.
 6         III.   LEGAL FRAMEWORK
 7         The compassionate release statute provides narrow grounds for defendants in
 8 “extraordinary and compelling” circumstances to be released from prison early. See 18 U.S.C.
 9 § 3582(c). The First Step Act of 2018 amended the procedural requirements governing
10 compassionate release. See id. Prior to the First Step Act’s passage, only the Director of the
11 BOP could bring motions for compassionate release. The Director rarely filed such motions.
12 See, e.g., United States v. Brown, 411 F. Supp. 3d 446, 448 (S.D. Iowa 2019). Congress
13 amended the statute to allow defendants to directly petition district courts for compassionate
14 release. As amended, 18 U.S.C. § 3582(c)(1)(A) states in relevant part,
15                (c) Modification of an imposed term of imprisonment.—The court may not
                  modify a term of imprisonment once it has been imposed except that—
16
                         (1) in any case—
17
                                (A) the court, upon motion of the Director of the Bureau of
18                              Prisons, or upon motion of the defendant after the defendant
19                              has fully exhausted all administrative rights to appeal a failure
                                of the Bureau of Prisons to bring a motion on the defendant’s
20                              behalf or the lapse of 30 days from the receipt of such a
21                              request by the warden of the defendant’s facility, whichever
                                is earlier, may reduce the term of imprisonment (and may
22                              impose a term of probation or supervised release with or
23                              without conditions that does not exceed the unserved portion
                                of the original term of imprisonment), after considering the
24                              factors set forth in section 3553(a) to the extent that they are
25                              applicable, if it finds that—
26                                     (i) extraordinary and compelling reasons warrant such
                                       a reduction; . . .
27
                                       (ii) . . .
28

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 1                                     and that such a reduction is consistent with the
                                       applicable policy statements issued by the Sentencing
 2
                                       Commission[.]
 3         Prior to passing the First Step Act, Congress directed the Sentencing Commission to
 4 promulgate a policy statement defining “extraordinary and compelling reasons” in the
 5 compassionate release context. See 28 U.S.C. § 994(t). Section 994(t) provides,
 6                The Commission, in promulgating general policy statements regarding the
 7                sentencing modification provisions in [18 U.S.C. § 3582(c)(1)(A)], shall
                  describe what should be considered extraordinary and compelling reasons
 8                for sentence reduction, including the criteria to be applied and a list of
 9                specific examples. Rehabilitation of the defendant alone shall not be
                  considered an extraordinary and compelling reason.
10
           The Sentencing Commission implemented this directive from Congress with a policy
11
     statement—U.S.S.G. § 1B1.13. In relevant part, the policy statement provides,
12
                  Reduction in Term of Imprisonment Under 18 U.S.C. § 3582(c)(1)(A)
13                (Policy Statement)
14
                  Upon motion of the Director of the Bureau of Prisons under 18 U.S.C.
15                § 3582(c)(1)(A), the court may reduce a term of imprisonment (and may
16                impose a term of supervised release with or without conditions that does
                  not exceed the unserved portion of the original term of imprisonment) if,
17                after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent
18                they are applicable, the court determines that—
                         (1)(A) Extraordinary and compelling reasons warrant the reduction;
19
                         ...
20
                         (2) The defendant is not a danger to the safety of any other person or
21                       to the community, as provided in 18 U.S.C. § 3142(g); and
22                       (3) The reduction is consistent with this policy statement.
23                                                Commentary

24                 Application Notes:
                         1. Extraordinary and Compelling Reasons.—Provided the
25
                            defendant meets the requirements of subdivision (2),
26                          extraordinary and compelling reasons exist under any of the
                            circumstances set forth below:
27
                                (A) Medical Condition of the Defendant—
28

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 1                        (i)    The defendant is suffering from a terminal illness (i.e.,
                                 a serious and advanced illness with an end of life
 2
                                 trajectory). A specific prognosis of life expectancy
 3                               (i.e., a probability of death within a specific time
                                 period) is not required. Examples include metastatic
 4
                                 solid-tumor cancer, amyotrophic lateral sclerosis
 5                               (ALS), end-stage organ disease, and advanced
                                 dementia.
 6
                          (ii)   The defendant is—
 7
                                 (I)     suffering from a serious physical or medical
 8                                       condition,
 9                               (II)    suffering from a serious functional or cognitive
10                                       impairment, or

11                               (III)   experiencing deteriorating physical or mental
                                         health because of the aging process,
12
                                 that substantially diminishes the ability of the
13                               defendant to provide self-care within the environment
                                 of a correctional facility and from which he or she is
14
                                 not expected to recover.
15                        (B) Age of the Defendant.—The defendant (i) is at least 65
16                           years old; (ii) is experiencing a serious deterioration in
                             physical or mental health because of the aging process;
17                           and (iii) has served at least 10 years or 75 percent of his or
18                           her term of imprisonment, whichever is less.
19                        (C) Family Circumstances.—
20                        (i)    The death or incapacitation of the caregiver of the
                                 defendant’s minor child or minor children.
21
                          (ii)   The incapacitation of the defendant’s spouse or
22                               registered partner when the defendant would be the
23                               only available caregiver for the spouse or registered
                                 partner.
24
                          (D) Other Reasons.—As determined by the Director of the
25                           Bureau of Prisons, there exists in the defendant’s case an
                             extraordinary and compelling reason other than, or in
26
                             combination with, the reasons described in subdivisions
27                           (A) through (C).
28                  2. Foreseeability of Extraordinary and Compelling Reasons.—
                       For purposes of this policy statement, an extraordinary and
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 1                          compelling reason need not have been unforeseen at the time of
                            sentencing in order to warrant a reduction in the term of
 2
                            imprisonment. Therefore, the fact that an extraordinary and
 3                          compelling reason reasonably could have been known or
                            anticipated by the sentencing court does not preclude
 4
                            consideration for a reduction under this policy statement.
 5                       3. Rehabilitation of the Defendant.—Pursuant to 28 U.S.C.
 6                          § 994(t), rehabilitation of the defendant is not, by itself, an
                            extraordinary and compelling reason for purposes of this policy
 7                          statement.
 8                       4. Motion by the Director of the Bureau of Prisons.—A
 9                          reduction under this policy statement may be granted only upon
                            motion by the Director of the Bureau of Prisons pursuant to 18
10                          U.S.C. § 3582(c)(1)(A). The Commission encourages the
11                          Director of the Bureau of Prisons to file such a motion if the
                            defendant meets any of the circumstances set forth in Application
12                          Note 1. The court is in a unique position to determine whether
13                          the circumstances warrant a reduction (and, if so, the amount of
                            reduction), after considering the factors set forth in 18 U.S.C.
14                          § 3553(a) and the criteria set forth in this policy statement, such
15                          as the defendant’s medical condition, the defendant’s family
                            circumstances, and whether the defendant is a danger to the
16                          safety of any other person or to the community.
17                          This policy statement shall not be construed to confer upon the
18                          defendant any right not otherwise recognized in law[.]

19 U.S.S.G. § 1B1.13.
20       For the reasons set forth in detail in United States v. Van Cleave, Nos. CR03-247-RSL,

21 CR04-125-RSL, 2020 WL 2800769, at *3-5 (W.D. Wash. May 29, 2020), “the Court finds the
22 guidance of U.S.S.G. § 1B1.13 persuasive, but not binding.” Id. The Court will exercise its
23 discretion to consider “extraordinary and compelling” circumstances that may exist beyond
24 those explicitly identified by the Sentencing Commission in its outdated policy statement. Id.
25         IV.    DEFENDANT’S CIRCUMSTANCES

26                a. Exhaustion Requirement

27         Before the Court can consider the merits of defendant’s motion, it must determine

28 whether he has met the statutory exhaustion requirement for compassionate release. See 18
   U.S.C. § 3582(c)(1)(A). The parties agree that defendant satisfied this requirement by filing a
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 1 request with the Warden of FCI Sheridan on July 20, 2020. See Dkt. #1496-1 (Ex. 1). Although
 2 his request appears to have gone unanswered, more than 30 days have elapsed since it was filed.
 3 18 U.S.C. § 3582(c)(1)(A). Finding that defendant has exhausted his administrative remedies,
 4 the Court will consider the merits of his motion for compassionate release.
 5                b. “Extraordinary and Compelling” Reasons
 6         Defendant’s motion for compassionate release is based primarily on his heightened risk
 7 for developing serious complications if he contracts COVID-19 while incarcerated at FCI
 8 Sheridan. The Court need not reiterate the widely known information regarding the symptoms
 9 of COVID-19 and the devastating global impact of the virus. COVID-19 has created
10 unprecedented challenges for federal prisons, where inmate populations are large and close
11 contact between inmates is unavoidable. As of October 16, 2020, the BOP reports 1,737 federal
12 inmates and 778 BOP staff have active, confirmed positive COVID-19 test results. See
13 COVID-19 Coronavirus, Fed. Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited
14 Oct. 16, 2020). Since the BOP reported its first case in late March 2020, at least 126 federal
15 inmates and two BOP staff members have died from the virus. Id. Fortunately, FCI Sheridan
16 currently reports no active cases of COVID-19, but five inmates are classified as “recovered”
17 from the virus. Id.
18         Defendant alleges that he is at higher risk for developing complications from COVID-19
19 based on his age, obesity, and hypertension. Dkt. #1496 at 3-10. The government concedes that
20 defendant’s age of 60 places him at higher risk, but argues that “[t]he greatest risk for severe
21 illness from COVID-19 is among those aged 85 and older.” Dkt. #1501 at 6 (citing Older
22 Adults, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-
23 adults.html (last visited Oct. 16, 2020)). The government also questions whether defendant’s
24 weight places him at high risk for COVID-19. Id. at 6-7. However, defendant’s PSR indicates
25 that he is 5’9” tall and weighs 235 pounds. PSR at ¶ 86. Defendant’s corresponding body mass
26 index (“BMI”) reflects obesity, an underlying medical condition that the CDC has identified as
27 increasing an individual’s risk for severe illness from COVID-19. People with Certain Medical
28 Conditions, CDC, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-

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 1 with-medical-conditions.html (last visited Oct. 16, 2020). Finally, the government questions
 2 whether defendant truly suffers from hypertension. Dkt. #1501 at 7-8. While defendant’s BOP
 3 medical records do not contain a formal diagnosis of hypertension, his records do confirm
 4 numerous hypertensive blood pressure readings in recent years, reaching as high as 181/202 in
 5 2019. See, e.g., Dkt. #1497 (Ex. 2) at 54. The CDC has advised that individuals with
 6 hypertension may be at an increased risk for severe illness from COVID-19. People with
 7 Certain Medical Conditions, supra.
 8         In light of the dangers posed by COVID-19, the Court finds the combination of
 9 defendant’s age, obesity, and elevated blood pressure concerning. The Court also notes that,
10 including time in pretrial detention, defendant has served more than eight years in prison. He
11 now has less than two years remaining on his sentence. Viewing all of defendant’s
12 circumstances together, the Court finds defendant has met his burden to demonstrate that
13 “extraordinary and compelling” reasons warrant his compassionate release. 18 U.S.C.
14 § 3582(c)(1)(A)(i).
15                c. Additional Considerations
16         Before the Court can grant defendant’s motion for compassionate release, however, it
17 must also find that he “is not a danger to the safety of any other person or to the community, as
18 provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13. The government asserts that defendant’s
19 record precludes such a finding. Dkt. #1501 at 15-16. There is no question that the offenses for
20 which defendant has served the current term of imprisonment are very serious. However, the
21 Court notes that defendant has served more than eight years of his lengthy sentence and has less
22 than two years remaining. Additionally, defendant has demonstrated prosocial behavior while in
23 prison, including completing a variety of educational programs. Dkt. #1496-4 (Ex. 5). He has a
24 near perfect prison disciplinary record, and his sole infraction was non-violent. Dkt. #1496-3
25 (Ex. 4). Defendant also has an approved release plan, which includes residing with his ex-wife,
26 with whom he co-parents his children and has a good relationship. Dkt. #1504. Ms. Valenzuela
27 appears to be invested in defendant’s transition into the community, and will support defendant
28 financially until he can obtain employment. Id. In light of these circumstances, the Court finds

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 1 defendant is not a danger to the safety of any other person or to the community as provided in
 2 § 3142(g). See U.S.S.G. § 1B1.13.
 3         In addition, prior to granting compassionate release, the Court must assess whether a
 4 sentence reduction to time served is consistent with the sentencing factors set forth in 18 U.S.C.
 5 § 3553(a). See 18 U.S.C. § 3582(c)(1)(A). Section 3553(a) requires the Court to “impose a
 6 sentence sufficient, but not greater than necessary, to comply with the purposes set forth in
 7 paragraph (2),” which requires that a sentence reflect the seriousness of and provide just
 8 punishment for the offense. 18 U.S.C. § 3553(a). Again, the offenses that led to defendant’s
 9 current term of imprisonment are very serious. But the extraordinary nature of the COVID-19
10 pandemic has altered life as we know it. While defendant deserved the sentence the Court
11 imposed in 2014, he has now served a large portion of that sentence. The risks to defendant’s
12 life and health now outweigh the punitive benefits that would be gained from keeping him
13 incarcerated. Cf. United States v. Pippin, CR16-266-JCC, 2020 WL 2602140, at *3 (W.D.
14 Wash. May 20, 2020). Accordingly, the Court intends to convert defendant’s remaining term of
15 imprisonment into a one-year term of home detention as an additional condition of supervised
16 release. Under these circumstances, the Court is satisfied that defendant’s sentence reduction is
17 consistent with the objectives of § 3553(a).
18         V.      CONCLUSION
19         For all the foregoing reasons, defendant’s motion for compassionate release (Dkt. #1496)
20 is GRANTED. Additionally, the government’s motion to seal (Dkt. #1500) and the parties’
21 motions to file overlength briefs (Dkts. #1495, #1499, #1502) are GRANTED.
22         IT IS HEREBY ORDERED that defendant’s custodial sentence be reduced to time
23 served. Supervised release shall commence immediately upon defendant’s release from
24 custody, during which time defendant shall be subject to the mandatory, standard, and special
25 conditions of supervision set forth in the Judgment (Dkt. #1329), as well as the other conditions
26 set forth in this Order:
27              • The defendant shall participate in the location monitoring program
28                with Active Global Positioning Satellite technology for a period of
                  12 months. The defendant is restricted to his residence at all times
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 1                except for employment, religious services, medical, legal reasons, or
                  as otherwise approved by the location monitoring specialist. The
 2
                  defendant shall abide by all program requirements, and must
 3                contribute towards the costs of the services, to the extent financially
                  able, as determined by the location monitoring specialist.
 4
 5            • The defendant shall abide by all federal, state, and local directives
                regarding the COVID-19 pandemic.
 6
 7 All other provisions of sentencing remain as previously set.
 8        IT IS FURTHER ORDERED that defendant shall be released to his approved release

 9 address fourteen (14) days from the date of this order to accommodate a quarantine period with
10 the Federal Bureau of Prisons. If defendant tests positive for COVID-19 at any time during this
11 quarantine period, BOP will notify the government who will immediately notify the Court so
12 that this order can be modified appropriately.
13         IT IS SO ORDERED.

14         DATED this 19th day of October, 2020.
15
16
                                                     A
                                                     Robert S. Lasnik
17                                                   United States District Judge

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